                                                             SO ORDERED.


                                                             Dated: October 27, 2022



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   2                                                         Daniel P. Collins, Bankruptcy Judge
                                                             _________________________________
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   6                    IN THE UNITED STATES BANKRUPTCY COURT

   7                             FOR THE DISTRICT OF ARIZONA
   8    In Re:                                                       Chapter 11
   9
        Win Big Development, LLC, an Arizona                 No. 2:20-bk-07495-DPC
  10    limited liability company,
  11                                                ORDER GRANTING DEBTOR'S
                                        Debtor.     MOTION TO APPROVE SALE OF
  12                                                1205 AND 1215 E. DEVONSHIRE
                                                    AVENUE
  13
  14                                                (Doc. 184)

  15         On October 6, 2022, at 11:00 a.m., Debtor's Motion to Approve Sale of 1205 and
  16   1215 E. Devonshire Avenue ("Motion to Approve Sale") came before the Court. Debtor's
  17   Motion to Approve Sale concerned the Purchase Contract entered into by Debtor to sell the
  18   twelve lots and common area which comprise 1205 and 1215 E. Devonshire Avenue to
  19   Glasair Capital Partners, LLC.
  20         During the hearing, the Court inquired as to whether any interested parties were
  21   present who wished to submit a bid. The highest and best bid was submitted by Certainty
  22   REI, LLC, an Arizona limited liability company.
  23         Therefore, the Court, having considered the statements and positions of the parties,
  24   including the objection filed by the United States Trustee, the responses thereto, and the
  25   arguments of counsel, and good cause appearing:
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   1        FINDS AND CONCLUDES:
   2        (i)     The sale of the real property at 1205 and 1215 E. Devonshire Avenue,
   3                Phoenix, Arizona, to the high bidder, Certainty REI, LLC, an Arizona limited
   4                liability company (the "Buyer"), is in the best interests of the estate;
   5        (ii)    The Buyer, as a third-party purchaser, qualifies for the protections of 11
   6                U.S.C. § 363(m) and is a good faith purchaser; and
   7        (iii)   The objection submitted by the U.S. Trustee’s Office was resolved through
   8                the terms of the sale order as modified below specifically in paragraphs 6,
   9                12, and 13.
  10        (iv)    A prior objection submitted by secured creditor, D.O. Income Fund, LLC,
  11                when a previous purchase contract was before the Court for approval was
  12                overruled in view of Debtor’s counsel’s representation a sale contemplated
  13                by the purchase contract would be sufficient to satisfy this secured creditor
  14                in full. Debtor’s counsel also represents the sale described herein will also be
  15                sufficient to satisfy this secured creditor in full.
  16        THEREFORE, IT IS ORDERED:
  17        1.      The Motion to Approve Sale shall be and is approved.
  18        2.      Debtor is authorized to sell the real property commonly known as 1205 and
  19                1215 E. Devonshire Avenue, Phoenix, Arizona, with APN numbers of
  20                155-05-087 through 155-05-099, inclusive (the "Subject Real Property"),
  21                free and clear of liens pursuant to the terms set forth in the Motion to Approve
  22                Sale to which the Purchase Contract was attached thereto as Exhibit 1 and
  23                except as otherwise set forth herein.
  24        3.      The Purchase Contract, referenced above, is hereby amended to reflect the
  25                Buyer to be Certainty REI, LLC, and the purchase price to be $1,900,000.
  26        4.      The Purchase Contract, referenced above, is further amended to reflect the
  27                sale of the Subject Real Property to the Buyer is subject to the Buyer
  28                competing its due diligence and obtain financing within thirty (30) days of
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   1              the entry of this Order and to reflect closing of the sale shall occur no later
   2              than fifty one (51) days from entry of this Order.
   3        5.    Buyer is directed to transmit the $60,000 earnest money deposit due under
   4              the Purchase Contract to the escrow company, Thomas Title Agency, or such
   5              other title and escrow company as selected by the parties, no later than one
   6              day from the date it is provided notice of this Order.
   7        6.    The sale of the Subject Real Property to the Buyer as called for herein is
   8              conditioned on a portion of the sales price being allocated to pay (i) all
   9              outstanding United States Trustee’s fees and (ii) the sum of $50,000 to
  10              unsecured creditors. These amounts shall be distributed and held in Debtor’s
  11              Debtor-in-Possession account.
  12        7.    The Court approves the payment of escrow costs and other normal and
  13              customary costs of the sale, including any unpaid real property taxes, by the
  14              escrow company which will handle this transaction, Thomas Title Company,
  15              or such other title and escrow company as selected by the parties. No
  16              commission will be paid to any real estate broker.
  17        8.    No other distribution of the sales proceeds shall be made except in
  18              accordance with paragraph 6, above, for payment of outstanding United
  19              States Trustee fees. The escrow company shall retain the balance of the sales
  20              proceeds until an order is issued by this Court. Alternatively, if the escrow
  21              company declines to hold the balance of the sales proceeds, the escrow
  22              proceeds will be maintained in a separate Debtor-in-Possession account with
  23              the funds not to be released except pursuant to an order of this Court.
  24        9.    The balance of the sales proceeds will thereafter be retained by the escrow
  25              company, or in Debtor’s separate Debtor-in-Possession account, until an
  26              order is issued by this Court which directs to whom of the secured lenders
  27              and/or other creditors holding a lien and/or other encumbrance against the
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   1              Subject Real Property shall receive a disbursement and the amount to be
   2              disbursed to each.
   3        10.   The secured creditors and/or other creditors holding a lien or encumbrance
   4              against the Subject Real Property shall, to the extent necessary, execute
   5              contemporaneously with closing on the Purchase Contract, or as soon as
   6              reasonably practicable thereafter as requested by the Buyer, any and all
   7              documents, releases, or instruments necessary to release, remove or
   8              terminate the liens or encumbrances which have been asserted against the
   9              Subject Real Property. All secured claims, interests, encumbrances, and
  10              Judgment Liens in or against the Subject Real Property shall attach to the net
  11              proceeds, arising from the sale of the Subject Real Property with the same
  12              force, validity, effect, priority, and enforceability as such claims had prior to
  13              such sale of the Subject Real Property. Any issues regarding the extent,
  14              validity, perfection, priority, and enforceability of such claims with respect
  15              to any net sales proceeds shall be determined by the Court upon proper
  16              application at a later date.
  17        11.   The proceeds presently retained by Debtor in a separate Debtor-in-
  18              Possession account, the insurance proceeds paid as a result of fire damage to
  19              the Subject Real Property, shall continue to be retained by Debtor until
  20              further order of this Court.
  21        12.   The Court hereby denies Debtor’s request for waiver of the fourteen day stay
  22              period imposed by Federal Rules of Bankruptcy Procedure,
  23        13.   The Debtor shall bring current its filing of monthly operating reports by
  24              October 21, 2022. If it does not, the U.S. Trustee’s Office may submit an
  25              order calling for this case to be converted to a Chapter 7 proceeding. If this
  26              matter is so converted for this or for any reason, this Order shall remain in
  27              full force and effect and the sale shall be conducted pursuant to the terms set
  28              forth herein.
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   1         14.    In the event the transaction called for herein closes, the Debtor’s counsel
   2                shall file a Report of Sale and shall also, within one week of its closing,
   3                contact counsel for the represented secured creditors to discuss procedures to
   4                propose to the court to address the issues of the priority of the secured liens
   5                and determination of the disbursement of the net sales proceeds.
   6
   7                                      DATED AND SIGNED ABOVE
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       Approved as to form and content:
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  11
  12   s/ Richard Hundley                       s/ James Csontos (with permission)
  13      Richard Hundley                          James Csontos
          Attorney for Win Big Development, LLC    Attorney for Logos Builders Southwest
  14
  15   s/ Jody L. Broaddus (with permission)         s/ Robert Riether (with permission)
  16      Jody L. Broaddus                              Robert Riether
          Attorney for the Evelyn Howe Trust            Attorney for D.O. Income Fund, LLC
  17      and the Larry Howe Trust
  18
  19   s/ Ed Bernatavicius (with permission)         s/ Anthony Austin (with permission)
          Ed Bernatavicius, U.S. Trial Attorney         Anthony Austin
  20      U.S. Attorney’s Office                         Attorney for America’s Specialty
  21                                                     Finance Company

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